                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )   No. 3:11-00012-7
v.                                             )   Judge Sharp
                                               )
QUINICE CROSS                                  )
                                               )


                                         ORDER

      For the reasons stated in Court at the February 8, 2013 hearing, the Motion to Revoke Order

of Detention or Reconsider (Docket No. 1285) is DENIED.

      The Motion to Ascertain Status of Pending Motion (1319) is DENIED as moot.

      IT IS SO ORDERED.



                                                   ________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




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